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       ORDERED in the Southern District of Florida on May 3, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

       In re:    Ayme Xiomara Cardenas                                  Case No.: 23-10455-RAM
                                                                        Chapter 13

                            Debtor(s)                /

          ORDER GRANTING DEBTOR’S EX-PARTE MOTION TO AMEND VOLUNTARY
                                 PETITION PAGE

               This matter came before the court on Debtors Ex-Parte Motion to Amend the Voluntary
       Petition Page [ECF#28]. The court having reviewed said motion, and being fully advised hereby:

           1. Debtor’s Ex-Parte Motion to amend voluntary petition page is GRANTED.

           2. The Petition shall be amended to reflect the debtor’s correct Alias Name at the time of
              filing her bankruptcy petition on January 20, 2023.

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       Respectfully Submitted:
       Jose A. Blanco, Esq.
       JOSE A. BLANCO, P.A.
       102 E 49th ST
       Hialeah, FL 33013
       Tel. (305) 349-3463

       Attorney Jose A. Blanco, Esq. shall serve a conformed copy of this order upon all parties in interest and shall file a
       Certificate of Service of same with the Clerk of the Court.
